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WESTERN DISTRICT OF TENNESSEE /;;
Eastern Division ~“~.,»<g¢{§§;‘ff"r.»»

‘?z\ at

United States District Court Q `/6(' §
»z,
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JUDGMENT IN A CIVIL CASE

MARK WALKER,
v.

CORRECTIONS CORPORATION CASE NU|V|BER: ‘l ?05-1 124-T/An
OF AMERICA, ET AL.,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 7/14/2005, this case is hereby D|S|V||SSED without
prejudice , pursuant to 42 U.S.C. § 1997 e(a). |t is also CERT|F|ED that any Appeal by
plaintiff is not taken in good faith.

APPROVED:

 

 

UN ED STATES DISTRICT JUDGE

THOMAS M. GOUL.D

 

 

CLERK
THOHO§ BY: CWM
DATE l ‘ DEPUTY CLERK-

This document entered on the docket sheet in compliance

with Rule 53 and/or rs(a) FRcP on ri , 3 9 l 05 .

 

 

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This notice confirms a copy of the document docketed as number 5 in
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July 20, 2005 to the parties listed.

 

Mark Walker

HCCF

292656

P.O. Box 549
Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

